Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 1 of 74 Page ID
                                 #:19430


     CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
1    Peter A. Schey (Cal. Bar No. 58232)
     Carlos Holguín (Cal. Bar No. 90754)
2    256 South Occidental Boulevard
     Los Angeles, CA 90057
3
     Telephone: (213) 388-8693
4    Facsimile: (213) 386-9484
     Email: crholguin@centerforhumanrights.org
5             pschey@centerforhumanrights.org

6    ORRICK, HERRINGTON & SUTCLIFFE LLP
7    Elena Garcia (Cal. Bar No. 299680)
8    777 South Figueroa Street, Suite 3200
     Los Angeles, CA 90017
9    Telephone: (213) 629-2020
     Email: egarcia@orrick.com
10

11   Attorneys for plaintiffs (listing continues on following page)
12
                                 UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
     JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx) 
15                                                     )
              Plaintiffs,                              )
16   - vs -                                            )   EXHIBITS IN SUPPORT OF
17                                                     )   PLAINTIFFS’ RESPONSE TO
     JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18   OF THE UNITED STATES, et al.,                     )
                                                           DEFENDANTS’ FIRST JUVENILE
                                                       )   COORDINATOR REPORTS
19            Defendants.                              )   VOLUME 12 OF 12 [REDACTED
20
                                                       )   VERSION OF DOCUMENT
                                                           PROPOSED TO BE FILED UNDER
21                                                         SEAL]
22                                                         [HON. DOLLY M. GEE]
23
                                                           Hearing: July 27, 2018
24                                                         Time: 10 AM

25

26
27

28
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 2 of 74 Page ID
                                 #:19431

1    Plaintiffs’ counsel, continued

2    LA RAZA CENTRO LEGAL, INC.
     Michael S. Sorgen (Cal. Bar No. 43107)
3    474 Valencia Street, #295
     San Francisco, CA 94103
4
     Telephone: (415) 575-3500
5
     THE LAW FOUNDATION OF SILICON VALLEY
6    LEGAL ADVOCATES FOR CHILDREN AND YOUTH
     PUBLIC INTEREST LAW FIRM
7    Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
     Katherine H. Manning (Cal. Bar No. 229233)
8
     Annette Kirkham (Cal. Bar No. 217958)
9    152 North Third Street, 3rd floor
     San Jose, CA 95112
10   Telephone:     (408) 280-2437
     Facsimile:     (408) 288-8850
11   Email: jenniferk@lawfoundation.org
             kate.manning@lawfoundation.org
12
            annettek@lawfoundation.org
13
     Of counsel:
14
     YOUTH LAW CENTER
15   Virginia Corrigan (Cal. Bar No. 292035)
16   832 Folsom Street, Suite 700 
     San Francisco, CA 94104
17   Telephone: (415) 543-3379

18
     ///
19

20
21

22

23

24

25

26

27
28
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 3 of 74 Page ID
                                 #:19432
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 4 of 74 Page ID
                                 #:19433
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 5 of 74 Page ID
                                 #:19434
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 6 of 74 Page ID
                                 #:19435
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 7 of 74 Page ID
                                 #:19436
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 8 of 74 Page ID
                                 #:19437
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 9 of 74 Page ID
                                 #:19438
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 10 of 74 Page ID
                                  #:19439
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 11 of 74 Page ID
                                  #:19440




                           Exhibit 211
                                                                         1031
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 12 of 74 Page ID
                                  #:19441




                                                                         1032
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 13 of 74 Page ID
                                  #:19442




                                                                         1033
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 14 of 74 Page ID
                                  #:19443




                                                                         1034
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 15 of 74 Page ID
                                  #:19444




                           Exhibit 212
                                                                         1035
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 16 of 74 Page ID
                                  #:19445




                                                                         1036
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 17 of 74 Page ID
                                  #:19446




                                                                         1037
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 18 of 74 Page ID
                                  #:19447




                                                                         1038
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 19 of 74 Page ID
                                  #:19448




                           Exhibit 213
                                                                         1039
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 20 of 74 Page ID
                                  #:19449




                                                                         1040
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 21 of 74 Page ID
                                  #:19450




                                                                         1041
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 22 of 74 Page ID
                                  #:19451




                           Exhibit 214
                                                                         1042
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 23 of 74 Page ID
                                  #:19452




                                                                         1043
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 24 of 74 Page ID
                                  #:19453




                                                                         1044
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 25 of 74 Page ID
                                  #:19454




                                                                         1045
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 26 of 74 Page ID
                                  #:19455




                           Exhibit 215
                                                                         1046
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 27 of 74 Page ID
                                  #:19456




                                                                         1047
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 28 of 74 Page ID
                                  #:19457




                                                                         1048
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 29 of 74 Page ID
                                  #:19458




                                                                         1049
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 30 of 74 Page ID
                                  #:19459




                           Exhibit 216
                                                                         1050
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 31 of 74 Page ID
                                  #:19460




                                                                         1051
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 32 of 74 Page ID
                                  #:19461




                                                                         1052
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 33 of 74 Page ID
                                  #:19462




                                                                         1053
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 34 of 74 Page ID
                                  #:19463




                           Exhibit 217
                                                                         1054
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 35 of 74 Page ID
                                  #:19464




                                                                         1055
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 36 of 74 Page ID
                                  #:19465




                                                                         1056
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 37 of 74 Page ID
                                  #:19466




                                                                         1057
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 38 of 74 Page ID
                                  #:19467




                           Exhibit 218
                                                                         1058
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 39 of 74 Page ID
                                  #:19468




                                                                         1059
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 40 of 74 Page ID
                                  #:19469




                                                                         1060
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 41 of 74 Page ID
                                  #:19470




                                                                         1061
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 42 of 74 Page ID
                                  #:19471




                           Exhibit 219
                                                                         1062
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 43 of 74 Page ID
                                  #:19472




                                                                         1063
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 44 of 74 Page ID
                                  #:19473




                                                                         1064
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 45 of 74 Page ID
                                  #:19474




                           Exhibit 220
                                                                         1065
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 46 of 74 Page ID
                                  #:19475




                                                                         1066
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 47 of 74 Page ID
                                  #:19476




                                                                         1067
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 48 of 74 Page ID
                                  #:19477




                           Exhibit 221
                                                                         1068
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 49 of 74 Page ID
                                  #:19478




                                                                         1069
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 50 of 74 Page ID
                                  #:19479




                                                                         1070
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 51 of 74 Page ID
                                  #:19480




                           Exhibit 222
                                                                         1071
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 52 of 74 Page ID
                                  #:19481




                                                                         1072
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 53 of 74 Page ID
                                  #:19482




                                                                         1073
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 54 of 74 Page ID
                                  #:19483




                           Exhibit 223
                                                                         1074
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 55 of 74 Page ID
                                  #:19484




                                                                         1075
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 56 of 74 Page ID
                                  #:19485




                                                                         1076
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 57 of 74 Page ID
                                  #:19486




                                                                         1077
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 58 of 74 Page ID
                                  #:19487




                           Exhibit 224
                                                                         1078
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 59 of 74 Page ID
                                  #:19488




                                                                         1079
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 60 of 74 Page ID
                                  #:19489




                                                                         1080
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 61 of 74 Page ID
                                  #:19490




                                                                         1081
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 62 of 74 Page ID
                                  #:19491




                                                                         1082
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 63 of 74 Page ID
                                  #:19492




                           Exhibit 225
                                                                         1083
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 64 of 74 Page ID
                                  #:19493




                                                                         1084
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 65 of 74 Page ID
                                  #:19494




                                                                        1085
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 66 of 74 Page ID
                                  #:19495




                                                                         1086
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 67 of 74 Page ID
                                  #:19496




                           Exhibit 226
                                                                         1087
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 68 of 74 Page ID
                                  #:19497
                                                                                  1
                          UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

             JENNY LISETTE FLORES,      )
             et al.,                    )
                                        )
                                        )
                          Plaintiffs,   )
             VS.                        ) Case No. CV 85-4544 DMG
                                        )
                                        )
             LORETTA E. LYNCH,          )
             Attorney General of the    )
             United States, et al.,     )
                                        )
                                        )
                          Defendants.   )
             ---------------------------x




                          DEPOSITION OF PHILIP MILLER

                                 WASHINGTON, D.C.

                                SEPTEMBER 28, 2016

                                    1:01 p.m.




            Reported by:
            Misty Klapper, CRR, RPR, CMR
            Job No. 46539




                                                                         1088
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 69 of 74 Page ID
                                  #:19498
                                                                                               2
      1

      2

      3

      4                               PHILIP MILLER

      5                               SEPTEMBER 28, 2016

      6                               1:01 p.m.

      7

      8                 Deposition of Philip Miller,

      9           held at the Department of Justice,

     10           450 5th Street, N.W., Washington,

     11           D.C., pursuant to Notice, before

     12           Misty Klapper, RPR, CRR, CMR and

     13           Notary Public within and for the

     14           District of Columbia.

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25



                                  DAVID FELDMAN WORLDWIDE, INC.
                      450 Seventh Avenue - Ste 500, New York, NY 10123 1.800.642.1099
                                                                                        1089
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 70 of 74 Page ID
                                  #:19499
                                                                                               3
      1

      2     APPEARANCES:

      3     FOR THE PLAINTIFFS:
                       Center for Human Rights & Constitutional L
      4                256 South Occidental Boulevard
                       Los Angeles, California 90057
      5                (213) 388-8693
                       BY: Peter A. Schey, Esq. (via telephone)
      6                     pschey@centerforhumanrights.org

      7
            FOR THE DEFENDANTS:
      8                UNITED STATES DEPARTMENT OF JUSTICE
                       District Court Section
      9                P.O. Box 868
                       Ben Franklin Station
     10                Washington, D.C. 20044
                       (202) 307-4693
     11                BY: William Silvis, Esq.
                            william.silvis@usdoj.gov
     12

     13     ALSO PRESENT:

     14                    Tom Zimmerman

     15                    Wendy Wallace

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25



                                  DAVID FELDMAN WORLDWIDE, INC.
                      450 Seventh Avenue - Ste 500, New York, NY 10123 1.800.642.1099
                                                                                        1090
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 71 of 74 Page ID
                                  #:19500
                                                                                                19
      1                     PHILIP MILLER

      2     understanding of what in 236(a) permits

      3     their release?

      4                 MR. SILVIS:          Object, asked

      5           and answered.

      6                 THE WITNESS:           When someone is

      7           put in Section 240 proceedings,

      8           it's part of our responsibility to

      9           set -- set custody conditions.                    If

     10           we don't have the capacity for the

     11           person to be detained, then we

     12           make a determination on what their

     13           conditions of release will be.

     14                      BY MR. SCHEY:

     15           Q.    And do you understand why in

     16     2014 the decision was made to start

     17     detaining mothers and children?

     18                 MR. SILVIS:          Object to the

     19           form.

     20                 THE WITNESS:           In response to

     21           the surge on the southern border,

     22           we were asked to increase our

     23           capacity so as to, you know,

     24           re-establish a secure border.

     25                      BY MR. SCHEY:


                                   DAVID FELDMAN WORLDWIDE, INC.
                       450 Seventh Avenue - Ste 500, New York, NY 10123 1.800.642.1099
                                                                                         1091
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 72 of 74 Page ID
                                  #:19501
                                                                                               177
      1

      2    STATE OF ______________ )

      3                                     )    :ss

      4    COUNTY OF ______________)

      5

      6

      7                I, PHILIP MILLER, the

      8    witness herein, having read the foregoing

      9    testimony of the pages of this deposition,

     10    do hereby certify it to be a true and

     11    correct transcript, subject to the

     12    corrections, if any, shown on the attached

     13    page.

     14

     15                            _________________________

     16                                    PHILIP MILLER

     17

     18

     19

     20    Sworn and subscribed to before

     21    me, this                    day of

     22                                    , 2016.

     23

     24    _______________________________

     25               Notary Public


                                  DAVID FELDMAN WORLDWIDE, INC.
                      450 Seventh Avenue - Ste 500, New York, NY 10123 1.800.642.1099
                                                                                        1092
Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 73 of 74 Page ID
                                  #:19502
                                                                                                0]
      0
      -              1111116
54495611359

      5     11111141$4851496
1(1_&13&1a(21(
      #    111&``1)11a1g1)1(&3'1_&'
      !    111(1(1a1a(12'111&11(
      /    111&``1)11a1)^'1a&13'12o1(1(
      ]    1112'11)1a1a1g13'121
           111(&()1)1(&&1&)^_)11'1a&`13'
      6    1112o1(1)1)1111&^1&_&)11(
     0.    1112'1`c13'1)1ao1(14121(&
     00    111_^1&1&)11&121')13'1'11(
     0-    1111&11(1_11a(_(1(1)11a
     05    111go1)1^&(&1(1412111&c1&
     0#    11121'11'1&'1&1_^121')13'1(
     0!    1111&1(&1&1_'1&1(&a
     0/    111&)11(1^_211(1_
     0]
     0
     06
                                 111111sssssssssssssssssssssssssss
     -.                          111111$'1411&11
                                 1111113&'1^3_11)1&1(
     -0                          1111117&_11^23
     --
     -5
     -#
     -!

                                  RASTR:UVWRXAE:YZ[WRYTRVD:TE\N
                      789:;<=<>?@:A=<>B<:C:;?<:899D:E<F:GHIJD:EG:K9KLM::KNO99NP7LNK9QQ   1093
    Case 2:85-cv-04544-DMG-AGR Document 459-13 Filed 07/16/18 Page 74 of 74 Page ID
                                      #:19503

                                       CERTIFICATE OF SERVICE
1
              I, Peter Schey, declare and say as follows:
2

3             I am over the age of eighteen years of age and am a party to this action. I am
4
        employed in the County of Los Angeles, State of California. My business address is
5
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
6

7             On July 16, 2018, I electronically filed the following document(s):
8
           • EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO DEFENDANTS’
9              THIRD JUVENILE COORDINATOR REPORTS VOLUME 12 OF 12
10             [REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
               UNDER SEAL]
11      with the United States District Court, Central District of California by using the
12
        CM/ECF system.
13

14            On July 16, 2018, I also served true and correct copies of the above documents
15
        to the interested parties by sending copies to the email address of Defendants’ Counsel,
16
        Sarah Fabian.
17

18                                                  /s/Peter Schey
                                                    Attorney for Plaintiffs
19
20

21

22

23

24

25

26
27

28

                                                   1
